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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


Krista Stratton,
                Plaintiff,                            Case No.:

v.

The Lincoln National Life Insurance Company,
             Defendant.


                                       COMPLAINT
                                  STATEMENT OF THE CASE

        1. This is an action for damages, equitable relief and attorney fees and costs under the

Employee Retirement Income Security Act of 1974, as amended (ERISA), 29 U.S.C. § 1001, et

seq., specifically 29 U.S.C. § 1132(a)(1)(b).

                                 JURISDICTION AND VENUE

        2. This Court has jurisdiction of Plaintiff’s federal law claims pursuant to 28 U.S.C. §§

1331 and 1337, as well as 29 U.S.C. § 1132(e) and 29 U.S.C. §1132(f).

        3. Venue is proper in this district, pursuant to 28 U.S.C. § 1391(b) and (c), because the

breach of the employee benefits contract between the parties occurred within this district.

                             PARTIES AND GENERAL ALLEGATIONS

        4. Plaintiff, Krista Stratton, is a resident of Manatee County, Florida At all times relevant

hereto Plaintiff, Krista Stratton, was an “employee” of Castellini Group of Companies, her

“employer”, as those terms are defined in 29 U.S.C. §§ 1002(5) and (6).

        5. Defendant, The Lincoln National Life Insurance Company, is a foreign corporation and

a fiduciary with respect to such claim, and does business in the Middle District of Florida.
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       6. At all times relevant hereto Plaintiff was a “participant” in and a “beneficiary” of a

long-term disability insurance plan, as those terms are defined by 29 U.S.C. §§ 1002(7) and (8),

and her insurance premium required for coverage under the LTD PLAN had been fully paid or

otherwise satisfied.

       7. The LTD PLAN is an “employee welfare benefit plan” as defined by 29 U.S.C. §

1002(1), and may be sued under ERISA as an entity, pursuant to 29 U.S.C. § 1132(d)(1).

       8. At all times relevant hereto Plaintiff’s employer, Castellini Group of Companies was

the “plan sponsor” as that term is defined by 29 U.S.C. § 1002(16)(B).

       9. At all times relevant hereto Defendant, The Lincoln National Life Insurance Company,

is the “administrator”, of the LTD PLAN, and a “fiduciary” as those terms are defined by 29

U.S.C. §§ 1002, (16) and (21).

       10.    At all times relevant hereto the LTD PLAN provided for payment of long-term

disability benefits in the event Plaintiff became “disabled”, as defined in the LTD PLAN.

       11. At all times relevant hereto, Plaintiff was “disabled” as that term is defined in the LTD

PLAN and this claim relates to benefits under the foregoing plan.

       12. Plaintiff has filed or caused to be filed proofs of claim and performed all other

conditions precedent to recovering benefits under the LTD PLAN for the loss or losses herein

claimed.

       13. Plaintiff has exhausted her administrative remedies.

                                              FACTS

       14.    Plaintiff realleges and reaffirms paragraphs 1 through 13 of the Complaint,

incorporating them by reference herein as if specifically restated.
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       15. At all times material to this action there was in full force and effect an insurance plan

for long-term disability benefits constituting a binding contract of insurance between the parties.

       16. The purpose of the plan was to pay to Plaintiff, Krista Stratton, a specified monthly

sum in the event that she became disabled. “Disability” and “Disabled” is defined in the policy

to mean:

       “TOTAL DISABILITY or TOTALLY DISABLED will be defined as follows:
            1. During the Elimination Period and Own Occupation Period, it means that due to
            an Injury or Sickness the Insured Employee is unable to perform each of the Main
            Duties of his or her Own Occupation.
            2. After the Own Occupation Period, it means that due to an Injury or Sickness the
            Insured Employee is unable to perform each of the Main Duties of any occupation
            which he or her training, education or experience will reasonably allow.

       MAIN DUTIES or MATERIAL AND SUBSTANTIAL DUTIES means those job tasks
       that:
             1. are normally required to perform the Insured Employee’s Own Occupation; and
             2. could not be reasonably modified or omitted.

       OWN OCCUPATION or REGULAR OCCUPATION means the occupation, trade or
       profession:
              1. in which the Insured Employee was employed with the Employer prior to
              Disability; and
              2. which was his or her main source of earned income prior to Disability.”

       17. Plaintiff was an eligible plan participant of the long-term disability plan at all times

material to this action

       18. Plaintiff became disabled and stopped working on September 5, 2018 due to the result

of a motor vehicle accident. The claim for Long-term disability benefits was denied on February

2, 2021. The undersigned submitted an appeal on August 1, 2021 which was denied by letter of

November 29, 2021.

       19. During this time period, Plaintiff’s disability was fully supported by her treating

physicians.
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       20. Since September 5, 2018, the Plaintiff has continued to meet the definition of disability

as defined by the Policy and continues to be disabled from not only her occupation but any

occupation. She has not worked in any occupation for which she is or may reasonably become

qualified for based on her education, training and experience.

       21. By the terms of the Defendant's Policy, the Plaintiff applied for Social Security

Disability benefits with an onset date of September 2018.

       22. Plaintiff has entered into a Contract of Representation and has agreed to pay the

undersigned an attorney's fee for representation.

                                           COUNT ONE

                                Action to Recover Plan Benefits
                              Pursuant to 29 U.S.C. § 1132(a)(1)(B)


       23.    Plaintiff realleges and realleges paragraphs 1 through 22 of the Complaint,

incorporating them by reference herein as if specifically restated.

       24. Defendant has failed and refused to pay Plaintiff sums due pursuant to the terms of the

LTD PLAN since September 6, 2018 and continuing.

       25. Plaintiff is entitled to recover attorney’s fees and costs of litigation as authorized by

29 U.S.C. § 1132(g).

       WHEREFORE, Plaintiff requests that this Honorable Court enter an Order granting relief

from Defendant for benefits due under the LTD PLAN through specific performance of the

contract between the parties, together with interest, costs of litigation and attorney’s fees.
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                                          COUNT TWO

                        Action to Clarify Right to Receive Plan Benefits
                             Pursuant to 29 U.S.C. § 1132(a)(1)(B)

       26. Plaintiff realleges and reavers paragraphs 1 through 22 of the Complaint, incorporating

them by reference herein as if specifically restated.

       27. Plaintiff is entitled to benefits under the LTD PLAN.

       28. Defendant has denied that Plaintiff is entitled to benefits under the LTD PLAN from

September 6, 2018 and continuing.

       29. Plaintiff is entitled to clarification of her right to reinstatement under the LTD PLAN.

       30. Plaintiff is entitled to recover attorney’s fees and costs as authorized by 29 U.S.C. §

1132(g).

       WHEREFORE, Plaintiff requests that this Honorable Court enter an order declaring

his/her right to benefits from September 6, 2018 and continuing under the LTD PLAN, pursuant

to 29 U.S.C. § 1132(a)(1)(B), and award her attorney’s fees and costs of litigation pursuant to 29

U.S.C. § 1132(g).

       Dated this 22nd day of September, 2022.


                                       Respectfully Submitted,

                                       /s/ Nancy L. Cavey_____________________
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